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United States District Court 05 JUH "| Pli 31 57

for
Western District of Tennessee F§?§§§T §§Gf;],§§-Olcl?

W.D. OF TN, §v‘aE:.l‘-\,il’l"{§$

U.S.A. vs. Nicholas Martin Docket No. 04-20140-006-MI

Petition for Action on Conditions of Pretrial Release

COMES NOW PRETRIAL SERVICES OFFICER Jake N. Bookard, II presenting an official report upon the
conduct of Defend ant Nicholas Martin who was placed under pretrial release supervision by the Honorable Tu M.
Pham sitting in the court at Memphis, TN on the 25th day of February, 2005 under the following conditions:

l. Report as directed by the Pretrial Services Or"iice

2. Maintain or actively seek employment

3. Defendant is restricted in residence and travel to the Western District ofTennessee and the District of

Maryland without prior approval of Pretrial Services

4. Refrain from possessing a frrearm, destructive device, or other dangerous weapon

5. Refrain from any use or unlawful possession of a narcotic drug or other controlled substance

6. Submit to any method of testing required by the Pretrial Services Officc for determining whether the defendant
is using a prohibited substance

7. Participate in a program of inpatient or outpatient substance abuse testing, education, or treatment if deemed
advisable by Pretrial Services

RESPEC'I`FULLY PRESENTING PETITI()N FOR ACTION OF COURT AND FOR CAUSE AS FOLLOWS:

Please see the attached sheet

PRAYING THAT THE COURT WILL ORDER ISSUANCE OF A WARRANT CHARGING THE DEFENDANT
WITH VIOLATING THE CONDITIONS OF PRETRIAL R_ELEASE

BOND RECOMMENDATION; NONE

ORDER OF COURT I declare under penalty of perjury that the
5»\»- foregoing is true and correct.
Considered and ordered this l

day of T vw.’_, , 20 Q and ordered Executed O“ /Yl ny 1&: y 2005

filed and made a part of rds in the above _! j

CB.SC.
U.S. Pretri al Serviees Ot`f`lcer

 

    
  
 

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U.S. District Jud Place Memphis, TN

 

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U.S.A. vs. Nicholas Martin Docket No. 04-20140-006-MI

Defendant Nicholas Martin failed to report to U.S. Probation Officer Kenneth Langston in the
District of Baltirnore on the following dates: April 20, 2005, May 5, 2005, May 18, 2005, May 25,
2005, and May 26, 2005 . After missing his scheduled office visit on May 25, 2005, Ofiicer Langston
instructed the defendant to report for supervision on May 26, 2005, to submit a urine specimen and
his travel plans to attend his court date in Memphis, TN on May 27, 2005. The above is in violation
of the defendant’s condition to report as directed by the Pretrial Services Office.

Defendant Martin failed to submit proof of employment to Offrcer Langston for the months of April
2005 and May 2005. This is in violation of the defendant’s condition that he maintain or
actively seek employment

Defendant Martin did not report to the U.S. Probation Office on May 26, 2005, for urinalysis testing
as directed by Officer Langston. This is in violation of the defendant’s condition that be submit
to any method of testing required by the Pretrial Services Office for determining Whether the
defendant is using a prohibited substance.

   

UNITED `sATEs DISTRIC COURT - WESTERN D's'CTRT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 179 in
case 2:04-CR-20140 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

